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                                                          USDC SDNY
                                                          DOCUMENT                       March 31, 2020
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                                                          DOC #:
UNITED STATES DISTRICT COURT                              DATE FILED: 10/21/2020
SOUTHERN DISTRICT OF NEW YORK
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐X
UNITED STATES OF AMERICA,                                                CONSENT TO PROCEED BY
                                                                                VIDEOCONFERENCE
                             ‐v‐
                                                                                20 ‐CR‐ 523( ) ( )   GHW
 Medghyne Calonge                  ,
                                       Defendant(s).
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐X
              Medghyne Calonge
Defendant ______________________________________ hereby voluntarily consents to
participate in the following proceeding via videoconferencing:

___      Initial Appearance/Appointment of Counsel

___      Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Preliminary Hearing on Felony Complaint

___      Bail/Revocation/Detention Hearing

 X
___      Status and/or Scheduling Conference

___      Misdemeanor Plea/Trial/Sentence



 /s/ Medgyhne Calonge
_______________________________                                       /s/ Martin Cohen
                                                                     _________________________________
Defendant’s Signature                                                Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)
 Medgyhne Calonge                                                     Martin Cohen
_____________________________                                        _________________________________
Print Defendant’s Name                                               Print Defense Counsel’s Name


This proceeding was conducted by reliable videoconferencing technology.


 October 21, 2020
___________________                                                  _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
